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                                  UNITED STATES DISTRICT COURT
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                                SOUTHERN DISTRICT OF CALIFORNIA
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11 SILVESTRE PALENCIA-CORIA,                       )   Civil No. 06-CV-0336-L
                                                   )   Criminal No. 03-CR-1339-L
12                        Petitioner,              )
                                                   )   ORDER DISMISSING
13 v.                                              )   PETITIONER’S MOTION UNDER
                                                   )   28 U.S.C. § 2255 TO VACATE, SET
14 UNITED STATES OF AMERICA,                       )   ASIDE, OR CORRECT SENTENCE
                                                   )
15                        Respondent.              )
                                                   )
16                                                 )
17          Currently pending before the Court is Petitioner’s motion pursuant to 28 U.S.C. § 2255 to
18 vacate, set aside or correct his sentence (“Motion”). The Court has reviewed the record in this
19 case which establishes that Petitioner waived both his right to appeal and to collaterally attack
20 his conviction and sentence. (Plea Agreement 9:4-17). Petitioner’s motion raises no challenge
21 to the validity of this waiver1, therefore this Court lacks jurisdiction to consider any collateral
22 challenge to his conviction and sentence. See Washington v. Lampert, 422 F.3d 864, 869 (9th
23 Cir. 2005) (recognizing that if sentencing agreement’s waiver of the right to file a federal habeas
24 petition was valid, district court lacked jurisdiction to hear the case).
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28            The sole ground for relief raised in the Motion is that Petitioner was deprived of
     effective assistance of counsel by his attorney’s failure to file a notice of appeal.
                                                                                           06cv0336; 03cr1339
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1          Accordingly, Petitioner’s Motion to Vacate, Set Aside or Correct Sentence pursuant to
2 28 U.S.C. § 2255 is DISMISSED.
3         IT IS SO ORDERED.
4 DATED: December 4, 2006
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                                                  M. James Lorenz
6                                                 United States District Court Judge
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